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United States Bankruptcy Court

 

District Of Colorado
In re Linda S. Russell )
) Case N<>. MM_.
6163 Devil’s Head Court )
Golden, Colorado 80403 ) Chapter 13
)
Last Four Digits of Social Security Number )
8419 )

NOTICE OF COMPLIANCE WITH ORDER IMPOSING SANCTIONS

I, Dustin J. Klein, am writing this to notify the Court of my compliance with the Order
and Judgment of sanctions against me for failing to appear at a scheduled hearing by submitting
the amount of $200.00 to the Faculty of Federal Advocates.

I am profusely apologetic for my absence; 1 was operating under a misunderstanding of
what the Chapter 13 Trustee had told me. I spoke with the Trustee prior to the hearing, and I
believed from our conversation that the unopposed Motion to Dismiss would be accepted by the
Court via frling, and that no follow-up documentation would be necessary. 1 meant no disrespect
to the Court or to my colleague, the Trustee, by failing to understand that my appearance would
still be required I mistakenly thought that because we filed the Motion to Dismiss, the matter
was disposed of.

Dated: WM{(/t/ //, W/$ By:

Counsel tc/Lindmissell

 

Atty. Reg. No. 45074

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Denver, Colorado 80204

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Facsimile: 800.909.3734

Email: dklein@culpepperlaw.us

 

 

 
 

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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF COLORADO
Bankruptcy Judge Sid Brooks

In re: )
) Bankruptcy Case No.
LINDA SUZANNE RUSSELL, ) 13-26137-SBB
SS# XXX-XX-8419, ) Chapter 13
)
Debtor. )

ORDER ]l\/IPOSING SANCTIONS

THIS MATTER comes before the Court on December 4, 2013 for a non-evidentiary
hearing regarding confirmation of the Debtor’s Chapter 13 Plan filed October 4, 2013 (Docket
#11) and the Objection thereto filed by the Chapter 13 Trustee on October 31, 2013 (Docket
#20). T he Court, having reviewed the file, heard representations from counsel, and convened a
hearing,

DOES FIND that notice of the plan confirmation hearing and related deadlines was
proper and sufficient Nevertheless, counsel for the Debtor, Dustin Klein, did not appear at the
scheduled hearing or otherwise advise this Court as to hin non-appearance at this hearing

IT IS THEREFORE ORDERED that sanctions in the amount of $200.00 are hereby
imposed against Dustin Klein, counsel for the Debtor, for his failure to appear at the duly
scheduled hearing or otherwise advise the Court as to his non-appearance at the hearing Said
sum shall be remitted directly to the Faculty of Federal Advocates on or before Decemberl 8,
2013. Mr. Klein shall notify the Court, in writing, of his compliance with this Order and the
Judgment on or before December 18, 2013.

IT IS FURTHER ORDERED that further failure to comply with, or otherwise respond to
this Order, or to appear at any future hearings, may result in further imposition of sanctions, if
Warranted and appropriate

Dated this 4th day of December, 2013.

BY THE coURT; _____ _ ,

 

 

Sidney B Brooks,
United States Bankruptcy Judge

 

 

 

 

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